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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


 CHRISTIAN BRUCKNER, et al.,

              Plaintiffs,
                                                 Case No. 8:22-cv-1582-KKM-SPF
       v.

 JOSEPH R. BIDEN, JR., et al.,

              Defendants.


  DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE TO FILE A REPLY

      Defendants move for leave to file a reply brief of not more than seven pages in

support of their Motion to Dismiss Plaintiffs’ Complaint, ECF No. 31, and to address

authorities and assertions raised in Plaintiffs’ Response in Opposition to Motion to

Dismiss, ECF No. 36 (Opposition). If the Court grants this motion, Defendants

propose filing their reply brief by November 1, 2022—14 days after the filing of

Plaintiffs’ Opposition—to prevent any prejudice to Plaintiffs and to allow the Court

sufficient time to review it before the Court’s November 7, 2022 hearing.

                             LEGAL MEMORANDUM

      This Court has broad discretion to grant leave to file a reply. See Local Rule

3.01(d). Here, Defendants seek leave of Court to file a reply to respond to authorities

and assertions raised in Plaintiffs’ Opposition, including:

      1.     Plaintiffs’ reliance on Northeastern Florida Chapter of the Associated General
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Contractors of America v. City of Jacksonville, 508 U.S. 656 (1993), is misplaced. See Opp’n

at 3–5. Defendants will demonstrate that this case is based on a distinguishable

program because unlike Jacksonville’s city ordinance, the Infrastructure Investment

and Jobs Act, Pub. L. 117–58, 135 Stat. 429 (Nov. 15, 2021) (the Infrastructure Act),

does not operate by using set-asides, see infra (3), and Plaintiffs have not identified any

ready and able bidders who are unable to compete on an equal basis but for the use of

set-asides.

       2.     Plaintiffs characterize the Infrastructure Act as having a “10% race-and-

gender quota.” Opp’n at 4. This is false. The Infrastructure Act reauthorizes the U.S.

Department of Transportation’s Disadvantaged Business Enterprise program (the

DOT DBE program), which explicitly prohibits state and local contracting entities’

use of “quotas for DBEs on DOT-assisted contracts.” 49 C.F.R. § 26.43(a). There is

no evidence that any Infrastructure Act recipient uses quotas and Defendants will

demonstrate that the DOT DBE goal is aspirational.

       3.     Plaintiffs’ characterization of the Infrastructure Act as authorizing “$37

billion in set asides for women and certain racial groups,” Opp’n at 7, is false. The

Infrastructure Act reauthorizes the DOT DBE program, which prohibits the use of

race- or gender-based set-asides except that only “in limited and extreme

circumstances, [a recipient] may use set-asides when no other method could be

reasonably expected to redress egregious instances of discrimination.” 49 C.F.R.

§ 26.43(b). There is no evidence that any Infrastructure Act recipient has used, or

intends to use, set-asides. There is evidence that multiple recipients use only race-
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neutral means to achieve their DBE goals. For example, the Florida Department of

Transportation meets its DBE goal in a race-neutral manner and “believes it can

achieve its DBE goal on federally assisted contracts through normal competitive

processes.”1 Defendants will demonstrate the race- and gender-neutral procedures a

recipient must implement prior to using any race- and gender-conscious procedure,

including locally set project-based DBE goals.

      4.     Plaintiffs state that Plaintiff Bruckner is not a “‘socially and economically

disadvantaged individual’ because he does not fit into any of the racial and ethnic

categories.” Opp’n at 7. This is a misunderstanding of the DOT DBE program, which

only creates a rebuttable presumption concerning social and economic disadvantage

for certain minority and female business owners. It also permits any economically-

qualified business owner to apply to be part of the DOT DBE program. 49 C.F.R. §

26.67(d) & Appendix E. Defendants will accurately describe the processes by which

small businesses may qualify for participation in the DOT DBE program.

      Defendants respectfully submit that good cause exists to permit Defendants to

file a reply in this instance. For the foregoing reasons, Defendants request that the

Court grant their Motion for Leave to File a Reply and permit the filing of a reply by

November 1, 2022.

Dated: October 26, 2022                          Respectfully submitted,

JOHN E. PUTNAM                                   KRISTEN CLARKE

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  See Florida Department of Transportation Programs and Services, available at
https://www.fdot.gov/equalopportunity/programsandservices.shtm (last visited on
October 24, 2022).
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 General Counsel                                  Assistant Attorney General
PAUL M. GEIER                                     Civil Rights Division
 Assistant General Counsel
  for Litigation and Enforcement                  KAREN D. WOODARD
PETER J. PLOCKI                                   Chief
 Deputy Assistant General Counsel                 Employment Litigation Section
  for Litigation and Enforcement                  Civil Rights Division
CHARLES E. ENLOE
 Senior Trial Attorney                            /s/ Robert Rich
U.S. Department of Transportation                 ANDREW BRANIFF
                                                  (IN Bar No. 23430-71)
                                                  Deputy Chief
                                                  ROBERT RICH
                                                  (DC Bar No. 1016908)
                                                  YOUNG CHOI
                                                  (CA Bar No. 327027)
                                                  Trial Attorneys
                                                  Employment Litigation Section
                                                  Civil Rights Division
                                                  United States Department of Justice
                                                  950 Pennsylvania Ave., N.W.
                                                  Washington, D.C. 20530
                                                  (202) 598-9898
                                                  Robert.Rich@usdoj.gov

                                                  Counsel for Defendants


                     LOCAL RULE 3.01(g) CERTIFICATION

      Defendants certify that they have conferred with Plaintiffs regarding the relief

sought by this motion on October 24, 2022, via email. Plaintiffs indicated that they

consent to Defendants’ filing of a reply brief.

                                                  /s/ Robert Rich
                                                  ROBERT RICH




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                             CERTIFICATE OF SERVICE

       I certify that, on October 26, 2022, I electronically filed a copy of the foregoing

document with the Clerk of Court via CM/ECF, which will send a notice of electronic

filing to all counsel of record.

                                                /s/ Robert Rich
                                                ROBERT RICH




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